         Case 1:22-cv-03571-PGG Document 14 Filed 05/13/22 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK




 BARBARA ANN HARTKE, an individual
 on her own behalf and on behalf of the Estate
 of decedent Gilbert V. Hartke


        Plaintiff,
                                                   Civil Action No.: 22-03571
 v.

 BONHAM’S & BUTTERFIELD’S
 AUCTIONEERS CORPORATION, A
 DELAWARE CORPORATION; THE
 CATHOLIC UNIVERSITY OF AMERICA,
 A NON-PROFIT DISTRICT OF
 COLUMBIA CORPORATION

        Defendants.


         ORDER TO SHOW CAUSE FOR PRELIMINARY INJUNCTION WITH
                    TEMPORARY RESTRAINING ORDER


       This matter having been opened to the court by plaintiff pursuant to Federal Rule of Civil

Procedure 65, and the defendant having set forth in its Verified Complain with supporting

memorandum of law that defendant Bonham’s & Butterfield’s (“Bonham’s”) is in possession of

plaintiffs’ personal property and has refused to return same and intends to conduct an auction on

behalf of co-defendant The Catholic University of America (“Catholic University”) with sale to

the highest bidder on May 24, 2022; it is

       ORDERED that the above-named defendants show cause before the Honorable

______________, Courtroom _________________, of the United States Courthouse,

______________, New York New York , on the ______ day of May, 2022 at ____:____ o’clock
         Case 1:22-cv-03571-PGG Document 14 Filed 05/13/22 Page 2 of 3




in the ________noon thereof or as soon thereafter as counsel can be heard, why an order should

not be entered restraining and enjoining defendant Bonham’s its officers, agents, servants,

employees, and attorneys and those in acive concert of participation with them and any and all

subsidiaries, parents, affiliates or divisions thereof during the pendency of this action from:

       1. Selling, at auction on May 24, 2022 or otherwise, “An Important Costume worn by

           Judy Garland as Dorothy in the Wizard of Oz” (informally known as the “Dorothy

           dress”);

       2. Transferring, pledging, assigning or removing from its place of business or otherwise

           disposing of the Dorothy dress; and it is further



       ORDERED that sufficient reason having been shown therefor, pending the hearing of

plaintiff Barbara A. Hartke’s application for a preliminary injunction pursuant to Federal Rule of

Civil Procedure 65, defendant Bonham’s is temporarily restrained and enjoined from

       3. Selling, at auction on May 24, 2022 or otherwise, “An Important Costume worn by

           Judy Garland as Dorothy in the Wizard of Oz” (known as the “Dorothy dress”);

       4. Transferring, pledging, assigning or removing from its place of business or otherwise

           disposing of the Dorothy dress; and it is further

       ORDERED that no security be posted; and it is further

       ORDERED that service of a copy of this Order to Show Cause, together with a copy of

the papers upon which this Order is based, be made by service upon defendant Bonham’s by

personal service on or before ____: ____ o’clock in the ______ noon of ___________, 2022,

Dated: New York NY

May ______, 2022
Case 1:22-cv-03571-PGG Document 14 Filed 05/13/22 Page 3 of 3
